Case 8:13-cv-01704-RWT Document1 Filed 06/12/13 Page 1of5

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

THOMAS ALSTON, *
Case No.
Plaintiff, *
Vv. (Removed from the Circuit Court for
* Prince George's County, Maryland)
RJM ACQUISITIONS LLC, PLAZA

RECOVERY, INC., JEFFERSON *
CAPITAL SYSTEMS, LLC, BUREAU
OF COLLECTION RECOVERY, *
Defendant.
ke * * * * * * * * * * * *
NOTICE OF REMOVAL

Defendant Jefferson Capital Systems, LLC (“Defendant” or “Jefferson Capital’), by
undersigned counsel and pursuant to 28 U.S.C. §§ 1331, 1367, 1441, and 1446, files this Notice
of Removal and states as follows:

INTRODUCTION

1. Defendant, pursuant to 28 U.S.C. §§ 1331, 1367, 1441, and 1446, hereby files this
notice of removal of this civil action from the Circuit Court for Prince George’s County,
Maryland, to the United States District Court for the District of Maryland. This Court has
jurisdiction based on federal question jurisdiction, 28 U.S.C. § 1331, and supplemental
jurisdiction pursuant to 28 U.S.C. § 1367. Pursuant to 28 U.S.C. § 1446(a), the grounds for
removal are as follows:

BACKGROUND
2. On or about May 1, 2013, Plaintiff filed this complaint in the Circuit Court for

Prince George’s County, Maryland, Case No. CAL13-12377.

 
Case 8:13-cv-01704-RWT Document1 Filed 06/12/13 Page 2 of 5

3. On May 13, 2013, Defendant was served with a copy of the Complaint. Pursuant
to 28 U.S.C. § 1446(a), copies of all process, pleadings, and orders filed are attached collectively
as Exhibit A.

4, The Complaint seeks relief pursuant to the Fair Credit Reporting Act, 15 U.S.C. §
1681 ef seq. (the “FCRA”), the Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et seq. (the
“FDCPA”), and the Maryland Consumer Debt Collection Act, Md. Code §14-201 ef seg. (the
“MCDCA”).

THIS COURT HAS JURISDICTION UNDER 28 U.S.C, § 1331 AND 28 U.S.C. § 1367(a).

5. This Court has original jurisdiction over this action under 28 U.S.C, § 1331,
which provides: “The district courts shall have original jurisdiction of all civil actions arising
under the Constitution, laws, or treaties of the United States.” 28 U.S.C. § 1331.

6. Pursuant to 28 U.S.C, § 1441(b), “[a]ny civil action of which the district courts
have original jurisdiction founded on a claim or right arising under the Constitution, treaties or
laws of the United States shall be removable without regard to the citizenship or residence of the
parties.”

7. Specifically, this Court has original jurisdiction of this action because Plaintiff's
allegations arise under the following federal statutes: the FCRA and FDCPA.

8, Further, this Court has supplemental jurisdiction over Plaintiff's state law claim
pursuant to 28 U.S.C. § 1367(a), which provides that “in any civil action of which the district
courts have original jurisdiction, the district courts shall have supplemental jurisdiction over all
other claims that are so related to claims in the action within such original jurisdiction that they

form part of the same case or controversy under Article III of the United States Constitution.”

 
Case 8:13-cv-01704-RWT Document1 Filed 06/12/13 Page 3 of 5

Specifically, this Court has supplemental jurisdiction over Plaintiffs claim for violation of the
MCDCA,

ALL OTHER PROCEDURAL REQUISITES FOR REMOVAL ARE SATISFIED

9, Venue is appropriate in this Court, and Defendants seek to remove this case to the
United States District Court for the District of Maryland pursuant to 28 USC. § 1441(a). The
Circuit Court of Prince George’s County, Maryland is located within this District and cases
arising in the Circuit Court of Prince George’s County, Maryland are properly assigned to this
Court. See 28 U.S.C. § 100(1).

10. Pursuant to 28 U.S.C. § 1446(a)(2)(A), upon information and belief, this removal

is filed on behalf of all defendants who have been properly joined and served. Specifically, RJM
Acquisitions LLC has been served and consents to this removal. As of the filing of this Notice
of Removal, Bureau of Collection Recovery has not been served. Although Jefferson Capital has
attempted to determine whether Plaza Recovery, Inc. has been served, as of the filing of this
Notice of Removal, it does not currently know whether Plaza Recovery, Inc. has been served.
Jefferson Capital will obtain the consent of all remaining defendants as soon as possible.

| 11. ‘This case is not precluded from being removed under 28 U.S.C. § 1445 because:
(a) it is not brought against a railroad or its receivers or trustees, arising under 45 U.S.C. 51-54,
55-60, (b) it is not brought against a carrier or its receivers or trustees to recover damages for
delay, loss or injury of shipments arising under section 11706 or 14706 of title 49; (c) it does not
arise under the workmen’s compensation laws; and (d) it does not arise under Section 40302 of
the Violence Against Women Act of 1994,

12. Pursuant to 28 U.S.C. § 1446(a), copies of all process, pleadings, and orders

served upon Defendant are attached hereto as Exhibit A.

 
Case 8:13-cv-01704-RWT Document1 Filed 06/12/13 Page 4 of 5

13. Defendant is required to file its Notice of Removal within 30 days of service, on
or before June 12, 2013. Removal is therefore timely under 28 U.S.C. § 1446(b) because this
Notice of Removal is being filed within thirty (30) days from the date the Complaint was served
on Defendant.

15. In accordance with 28 U.S.C. § 1446(d), a true and correct copy of this Notice of
Removal will be promptly filed with the Clerk of the Circuit Court for Prince George’s County,
Maryland and served upon all parties of record. See Notice of Filing of Removal, attached as
Exhibit B.

WHEREFORE, Defendant Jefferson Capital Systems, LLC respectfully requests that the
above-captioned action now pending in the Circuit Court of Prince George’s County, Maryland,
be removed to the United States District Court for the District of Maryland and that this District
Court enter such other and further orders as may be necessary to accomplish the requested

removal.

Date: June 12, 2013 Respectfully submitted,

 

 

Melissa O. Martinez (Federal Bar No\ 28975)
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Case 8:13-cv-01704-RWT Document1 Filed 06/12/13 Page 5o0f5

CERTIFICATE OF SERVICE
I hereby certify that on June 12, 2013, the foregoing Notice of Removal was served via
first class mail, postage prepaid, on the following:

Thomas Alston
10012 Cedarhollow Lane
Largo, MD 20774

RJM ACQUISITIONS LLC

The Corporation Trust Incorporated
351 West Camden Street
Baltimore, MD 21201

PLAZA RECOVERY, INC

The Corporation Trust Incorporated
351 West Camden Street
Baltimore, MD 21201

BUREAU OF COLLECTION RECOVERY
The Corporation Trust Incorporated

351 West Camden Street

Baltimore, MD 21201

 

 

 

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Melissa O. Martinez
